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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION

RAYMEY VOSS,                                                           PLAINTIFF
#213751

V.                          CASE NO. 4:20-CV-219-BD

JOHN STALEY, et al.                                                 DEFENDANTS

                                  JUDGMENT

     Consistent with the Order that was entered on this day, it is CONSIDERED,

ORDERED, and ADJUDGED that this case is hereby DISMISSED, WITH PREJUDICE.

     IT IS SO ORDERED this 30th day of September, 2020.


                                      ___________________________________
                                      UNITED STATES MAGISTRATE JUDGE
